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                          IN THE UNITED STATES DISTRICT
                        COURT NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


                                                     §
 IN RE DEPUY ORTHOPAEDICS, INC.,                     §      MDL Master Docket No. 3:11-
 PINNACLE HIP IMPLANT                                §      MD-2244-K
 PRODUCTS LIABILITY LITIGATION                       §
                                                     §      JUDGE ED KINKEADE
                                                     §
                                                     §

THIS DOCUMENT RELATES TO:

Cheryl Ellison v. DePuy Orthopaedics, Inc. et al.,
Case No. 3:12-cv-02498-K, and

Elana Lester, et al. v. DePuy Orthopaedics, Inc., et al.,
Case No. 3:17-cv-02223-K

                                   JOINT STATUS REPORT

 TO THE HONORABLE SPECIAL MASTER STANTON:

      Come now Plaintiffs Cheryl Ellison and Elana Lester, by and through their counsel of

 record, Matt Morrison of Harrison Davis Morrison Jones, P.C. and Justin Presnal of Simmons

 Hanly Conroy, together with Defendants DePuy Orthopaedics, Inc., et al., and hereby submit

 this Joint Status Report for the Court’s consideration.

      After conferring, counsel for the parties identified herein do not have any issue that requires

 the Court’s attention at this time. Counsel are working together cooperatively as we complete

 discovery and prepare for remand.


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      Dated: December 9, 2022.

      Respectfully submitted,

      HARRISON DAVIS                         SIMMONS HANLY CONROY, LLC
      MORRISON JONES, P.C.
      National Trial Lawyers



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    AGREED & JOINED:


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                              CERTIFICATE OF SERVICE
       It is hereby certified that service of a true and correct copy of the foregoing has been

made upon the following by electronic mail on this 9th day of December, 2022:


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                                  Counsel for Defendants




                                                   /s/ Matt Morrison
                                                   Matt Morrison
